Case 1:15-cr-00208-FB        Document 105         Filed 04/14/25      Page 1 of 1 PageID #: 570




   Donald D. duBoulay                                            305 Broadway, Suite 310
    Attorney at Law                                              New York, NY 10007

   Telephone: (212) 966-3970
   Fax:       (212) 941-7108
   E-mail:   dondubesq@aol.com

                                                                 April 14, 2025

   The Honorable Frederic Block
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York, 11201

   Re: United States v. Rafael Caro Quintero
          15 Cr. 208 (FB)

   Dear Judge Block:

           Pursuant to my appointment as Curcio counsel in the matter, I met and discussed
   the cited potential conflict of interest issue noted in the Government’s letter to the court
   dated April 4, 2025, with Mr. Caro Quintero. That letter posits a potential conflict of
   interest, if attorney Michael E. Vitaliano, Esq. were to continue representing Mr. Caro
   Quintero in this case.

           I write to report that after having reviewed the Government’s Curcio letter to the
   Court with Mr. Caro Quintero, and having discussed with him (with an interpreter) the
   possible conflict of interest that exists with the continued representation of him by Mr.
   Vitaliano. Mr. Caro Quintero acknowledged his awareness of the potential conflict of
   interest posed by the continued representation of him by Mr. Vitaliano, and does not wish
   to waive the potential conflict of interest existing here and desires to proceed without the
   services of Mr. Vitaliano.

          Should the Court have any questions I am available at (212) 966 3970.

                                                         Respectfully submitted,



                                                          /s/ Donald duBoulay



          cc: File
